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 1   BRUCE LOCKE (#177787)
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     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     PAUL YEARBY
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                No. 2:10-cr-00178-MCE
                                         )
 9                     Plaintiff,        )
                                         )                STIPULATION TO CONTINUE STATUS
10                                       )                CONFERENCE AND EXCLUDE TIME
           v.                            )                UNDER SPEEDY TRIAL ACT
11                                       )
     PAUL YEARBY, et al.,                )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendants, Paul Yearby, by
15   and through his defense counsel, Bruce Locke, Jake Weathers, by and through his defense counsel,
16   Hayes Gable, and the United States of America, by and through its counsel, Assistant U.S. Attorney
17   Russell Carlberg, that the status conference presently set for January 26, 2012 at 9:00 a.m., should
18   be continued to February 23, 2012 at 9:00 a.m., and that time under the Speedy Trial Act should be
19   excluded from January 26, 2012 through February 23, 2012.
20          The reason for the continuance is that the parties are engaged in discussions to resolve the
21   case without a trial and Mr. Locke needs additional time to arrange for the government to interview
22   Mr. Yearby. Accordingly, the time between January 26, 2012 and February 23, 2012 should be
23   excluded from the Speedy Trial calculation pursuant to Title 18, United States Code, Section
24   3161(h)(7)(B)(ii) and (iv) and Local Codes T-2 for complexity and T-4 for defense preparation.
25   The parties stipulate that the ends of justice served by granting this continuance outweigh the best
26   interests of the public and the defendant in a speedy trial. 18 U.S.C. §3161(h)(7)(A). Mr. Carlberg
27   and Mr. Gable have authorized Mr. Locke to sign this pleading for them.
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29                                                    1
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 1
 2   DATED: January 24, 2012                  /S/ Bruce Locke
                                        BRUCE LOCKE
 3                                      Attorney for Paul Yearby
 4
     DATED: January 24, 2012                  /S/ Bruce Locke
 5                                      For HAYES GABLE
                                        Attorney for Jake Weathers
 6
 7   DATED: January 24, 2012               /S/ Bruce Locke
                                        For RUSSELL CARLBERG
 8                                      Attorney for the United States
 9
10         IT IS SO ORDERED.
11
12    Dated: January 25, 2012

13                                      ________________________________
                                        MORRISON C. ENGLAND, JR.
14
                                        UNITED STATES DISTRICT JUDGE
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